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         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF FLORIDA
                    TALLAHASSEE DIVISION



NETWORK TALLAHASSEE, INC., etc.,

           Plaintiff,

v.                                                CASE NO. 4:10cv38-RH/WCS

EMBARQ CORPORATION et al.,

           Defendants.

_____________________________________/


                          ORDER OF DISMISSAL


     IT IS ORDERED:

     1. The joint motion for voluntary dismissal of the claims against specified

defendants, ECF No 78, is GRANTED.

     2. All claims against these defendants are dismissed without prejudice:

     •     Carolina Telephone And Telegraph Co., LLC, d/b/a Embarq

     •     Central Telephone Co., d/b/a Embarq

     •     Central Telephone Co. of Texas, d/b/a Embarq

     •     United Telephone Co. of Texas, Inc., d/b/a Embarq

     •     Central Telephone Co. of Virginia d/b/a Embarq
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         •        United Telephone Southeast Inc., d/b/a Embarq

         •        Embarq Minnesota, Inc.

         •        Embarq Missouri, Inc.

         •        The United Telephone Co. of Pennsylvania, LLC, d/b/a Embarq

         •        United Telephone Co. of Eastern Kansas d/b/a Embarq

         •        United Telephone Co. of Kansas, d/b/a Embarq

         •        United Telephone Co of South Central Kansas, d/b/a Embarq

         •        United Telephone Co. of the Carolinas LLC, d/b/a Embarq

         •        United Telephone Co. of Indiana, Inc., d/b/a Embarq

         •        United Telephone Co. of New Jersey, Inc., d/b/a Embarq

         •        United Telephone Co. of Ohio, d/b/a Embarq

         •        United Telephone Co. of the Northwest, d/b/a Embarq

         •        United Telephone Co. of the West, d/b/a Embarq

         3. I do not direct the entry of judgment under Federal Rule of Civil

Procedure 54(b).

         4. The claims against the other defendants remain pending.

         SO ORDERED on October 19, 2010.

                                                 s/Robert L. Hinkle
                                                 United States District Judge



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